   Case 2:12-md-02327 Document 287-1 Filed 10/12/12 Page 1 of 1 PageID #: 3927


                                UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF WEST VIRGINIA
                                      CHARLESTON DIVISION

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IN RE ETHICON, INC., PELVIC REPAIR                             : CIVIL ACTION NO. 2:12-md-02327
SYSTEM PRODUCTS LIABILITY                                      : MDL No. 2327
LITIGATION                                                     :
------------------------------------------------------------   : Judge Joseph R. Goodwin
This Document Applies To All Actions                           :
------------------------------------------------------------   X

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                        PLAINTIFFS’ CERTIFICATE OF SERVICE OF
                    NOTICE TO TAKE ORAL DEPOSITION OF DEFENDANT
                     ETHICON LLC THROUGH DESIGNATED WITNESSES

         I hereby certify that on October 12, 2012, I served Plaintiff’s Notice to Take Oral Deposition

of Defendant Ethicon LLC through Designated Witnesses via email and the foregoing document

was electronically filed with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive service in this MDL.

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